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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION

DONNA THOMAS,                                          )
                                                       )
       Plaintiff,                                      )
                                                       ) Case No. 3:17-cv-863-WKW-SRW
               v.                                      )
                                                       )
UNITED PARCEL SERVICE, INC.                            )
                                                       )
       Defendant.                                      )

                               UNIFORM SCHEDULING ORDER

       Please read this order carefully. These deadlines and responsibilities may not be
changed without leave of court. All parties are expected to comply with each and every
provision of this order in a timely manner. The parties are also expected to comply with the
Middle District’s Local Rules and the Middle District’s Guidelines to Civil Discovery
Practice, both of which can be found at http://www.almd.uscourts.gov/.

        Under Rule 16, Federal Rules of Civil Procedure, the Court is required to set a schedule
for discovery and the filing of motions. Accordingly, it is ORDERED as follows:

       SECTION 1: Trial and Pretrial Dates. An on-the-record pretrial conference is
scheduled for May 16, 2019, in Courtroom 2B before Chief United States District Judge W. Keith
Watkins. This cause is set for trial during the term of court commencing on July 15, 2019, in
Opelika, Alabama.1

         SECTION 2: Dispositive Motions. Dispositive motions, e.g., motions for summary
judgment, shall be filed no later than November 17, 2018. A brief and all supporting evidence
shall be filed with any such motion. In all briefs filed by any party relating to the motion, the
discussion of the evidence in the brief must be accompanied by a specific reference, by page and
line, to where the evidence can be found in a supporting deposition or document. Failure to make
such specific reference may result in the evidence not being considered by the court.

       Daubert motions shall be filed on or before the above dispositive motions deadline, unless
the deadline is modified by the court upon motion of a party demonstrating good cause.




1
  In their report of parties’ planning meeting (Doc. 9), the parties stated that the action would be
ready for a jury trial on June 3, 2019; however, that trial date is only available for cases to be tried
in Dothan. The closest date for an Opelika trial is July 15, 2019. The dates set forth in this order
correspond to that trial term.
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        SECTION 3: The Parties’ Settlement Conference. No later than October 18, 2018,
counsel for all parties shall conduct a face-to-face settlement conference at which counsel shall
engage in good faith settlement negotiations. If settlement cannot be reached, counsel shall also
discuss whether mediation will assist the parties in reaching settlement. Not more than FIVE (5)
DAYS after this conference, counsel for the plaintiff shall file a pleading titled “Notice Concerning
Settlement Conference and Mediation.” This pleading shall indicate whether settlement was
reached and, if not, whether the parties believe mediation or a settlement conference with the
presiding judge will assist them in resolving this case short of trial.

        SECTION 4: Amendments to Pleadings. Motions to amend the pleadings and to add
parties shall be filed by the parties, on or before July 6, 2018.

       SECTION 5: Class Certification. Motions for class certification shall be filed on or
before July 23, 2018. A brief addressing the factors enumerated in Rule 23(a), (b) and (g) of the
Federal Rules of Civil Procedure shall be filed with any such motion.

        SECTION 6: Responses to Motions. The failure to file a response to any motion – either
dispositive or non-dispositive – within the time allowed by the Court shall indicate that there is no
opposition to the motion.

        SECTION 7: Discovery Cutoff. All discovery shall be completed on or before October
18, 2018, except that, as to any witnesses whose names are not revealed until the last day allowed
under SECTION 9 or whose names are not revealed with sufficient time for the other parties to
take a deposition prior to the pretrial conference, the opposing party shall have the deadline in this
paragraph extended to allow for deposing such witnesses
.
        SECTION 8: Expert Witness Disclosures. The parties shall disclose to each other the
identity of ANY person who may be used at trial to present evidence under Rules 701, 702, 703,
or 705 of the Federal Rules of Evidence, and provide the reports of retained experts or witnesses
whose duties as an employee of the party regularly involved giving expert testimony, required by
Rule 26(a)(2) of the Federal Rules of Civil Procedure, as follows:

       From the plaintiff(s), on or before August 20, 2018.

       From the defendant(s), on or before September 18, 2018.

       The parties shall comply fully with all requirements of Rule 26(a)(2) in regard to disclosure
of expert testimony. Unless an objection is filed within 14 days after disclosure of any expert
witness, the disclosure shall be deemed to be in full compliance with the Rule.

        SECTION 9: Trial Witness Lists. No later than June 3, 2019, each party shall, pursuant
to the provisions of Rule 26(a)(3) of the Federal Rules of Civil Procedure, file a list of all its
witnesses and provide to all other parties the addresses and telephone numbers of all witnesses,
except witnesses to be used solely for impeachment purposes, separately identifying those whom
the party expects to present and those whom the party may call if the need arises. The witness list
should include the names of any witnesses required to be disclosed under Section 8. Unless
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specifically agreed between the parties or allowed by the court for good cause shown, the parties
shall be precluded from calling any witness not so identified. Objections to any witness identified
must be filed no later than 28 days before the trial date and shall set out the grounds and legal
authority. The offering party shall file a written response to objections no later than 21 days before
the trial date.

         SECTION 10: Deposition Designations. No later than June 3, 2019, the parties shall,
pursuant to the provisions of Rule 26(a)(3) of the Federal Rules of Civil Procedure, file deposition
designations that the parties expect to use at trial. Designations must be by page and line numbers,
based on counsel’s good faith opinion that they are relevant and admissible. Designation of entire
depositions is not allowed. Adverse parties shall within one week thereafter file deposition
designations expected to be used in response, and a party shall within three days of the designation
of such responsive parts file the designation of any part that is desired as a rebuttal thereto. Unless
specifically agreed between the parties or allowed by the court for good cause shown, the parties
shall be precluded from using any part of a deposition or other document not so listed, with the
exception of parts of depositions or documents to be used solely for the purpose of impeachment.
Except to the extent written objections are filed 28 days prior to the trial date, each party shall be
deemed to have agreed that one of the conditions for admissibility under Rule 32 of the Federal
Rules of Civil Procedure is satisfied with respect to any such deposition and that there is no
objection to the testimony so designated. Objections shall state with particularity the portions
objected to, and the objecting party shall attach a copy of the portions to which the objections
apply. The offering party shall file a written response to objections no later than 21 days before
the trial date.

        SECTION 11: Trial Exhibits. No later than June 3, 2019, the parties shall, pursuant to
the provisions of Rule 26(a)(3) of the Federal Rules of Civil Procedure, file exhibit lists and furnish
opposing counsel for copying and inspecting all exhibits and tangible evidence to be used at the
trial. Proffering counsel shall have such evidence marked for identification prior to trial. The list
shall identify specifically and separately by exhibit number each document to be offered, and
general or bulk designations are not allowed. Unless specifically agreed between the parties or
allowed by the court for good cause shown, the parties shall be precluded from offering such
evidence not so furnished and identified, with the exception of evidence to be used solely for the
purpose of impeachment. Except to the extent written objections are filed, the evidence shall be
deemed genuine and admissible in evidence. Objections shall be filed 28 days prior to the trial
date, and shall set forth the grounds and legal authorities. The offering party shall file a written
response to the objections no later than 21 days prior to trial and shall include a pre-marked copy
of the evidence at issue.

        SECTION 12: Discovery Plan. Except to the extent of any conflict with the deadlines
set out herein, the Discovery Plan contained in the Report of Parties’ Planning Meeting (Doc. # 9)
is adopted and incorporated herein.

        SECTION 13: Voir Dire. If a jury trial: The parties shall file any requested voir dire
questions, motions in limine fully briefed, and any proposed jury instructions, together with
citations of law thereon, on or before 21 days prior to the trial date unless said time is shortened
by the court on motion of either party. Objections to motions in limine, fully briefed, must be filed
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on or before 14 days before the trial date. Trial counsel are directed to review the jury
questionnaire used in this court and to avoid any duplication of matters addressed therein in their
voir dire questions. The jury questionnaire is available on the court’s website at
http://www.almd.uscourts.gov.

        SECTION 14. Trial Date Defined. In cases involving jury trials, the term TRIAL DATE
as used in the foregoing deadlines shall mean the date on which the term of court commences as
specified in SECTION 1.

       SECTION 15: General Provisions

       (A) All briefs on any matter before the court must be formal in format and filed with the
Court. The Court does not accept “letter briefs” or “letter reports.”

        (B)     A request or motion for extension of a deadline in any court order (i) must be in
writing; (ii) must indicate that movant has, in a timely manner, previously contacted counsel for
all other parties; and (iii), based on that contact, must state whether counsel for all other parties
agree to or oppose the extension request or motion. A request or motion that fails to meet this
requirement will be denied outright, unless the movant offers a credible explanation in the request
or motion why this requirement has not been met. Absent stated unforeseen and unavoidable
circumstances beyond the control of the movant, oral extension requests and motions are not
allowed, and “eleventh hour” extension requests and motions will be denied outright.

        (C) Any proposed order that a party desires the court to enter should be submitted to the
court in both (i) an Adobe Acrobat PDF format attachment to the motion and (ii) by transmitting
an electronic copy of the proposed order to the court as an attachment to an email message sent to,
propord_watkins@almd.uscourts.gov. For these purposes, the electronic copy should be in
WordPerfect or Word format and not in Adobe Acrobat PDF format. If the proposed order relates
to discovery matters, e.g., a HIPAA order or protective order, an electronic copy of the proposed
order should be sent to the e-mail address of the assigned Magistrate Judge (Magistrate Judge
Susan       Russ        Walker)       whose        address        may        be     found        at
<http://www.almd.uscourts.gov/judges/propord.htm>.

       (D) If any party has an objection to these deadlines, the party should inform the court
within 14 days from the date of this Order; otherwise, the court will assume that the deadlines are
agreeable to all parties. Unless this Order is modified by subsequent Order of the court, the
provisions herein above set out are binding on the parties.

       Done, on this the 17th day of April, 2018.

                                                              /s/ Susan Russ Walker_________
                                                              Susan Russ Walker
                                                              United States Magistrate Judge
